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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                              Chapter 11

JOANN INC., et al.,1                                Case No. 25-10068 (CTG)

                 Debtors.                           (Jointly Administered)
                                                    Hearing Date: February 11, 2025, at 2:00 p.m. (Eastern Time)
                                                    Objection Deadline: February 11, 2025, at 2:00 p.m. (Eastern Time)



           NOTICE OF MOTION OF IG DESIGN GROUP AMERICAS, INC. TO
             FILE “EXHIBIT A” TO LIMITED OBJECTION UNDER SEAL

         PLEASE TAKE NOTICE that on February 4, 2025, IG Design Group Americas, Inc., and its
affiliates, including, but not limited to, Simplicity Creative Corp., and The McCall Pattern
Company, Inc. (collectively, “DGA”) filed the Motion of IG Design Group Americas, Inc. to File
“Exhibit A” to Limited Objection Under Seal (the “Seal Motion”) with the United States
Bankruptcy Court for the District of Delaware (the “Court”).

       PLEASE TAKE FURTHER NOTICE that responses, if any, to the Seal Motion, must be filed
on or before February 11, 2025, at 2:00 p.m. (Eastern Time) (the “Objection Deadline”) with
the Court, 824 North Market Street, Third Floor, Wilmington, Delaware 19801.

       PLEASE TAKE FURTHER NOTICE that at the same time, you must serve a copy of the
response on the undersigned counsel so as to be received on or before the Objection Deadline.

       PLEASE TAKE FURTHER NOTICE that a hearing on the Seal Motion will be held on
February 11, 2025, at 2:00 p.m. (Eastern Time) before the Honorable Craig T. Goldblatt, in the
United States Bankruptcy Court for the District of Delaware, 824 North Market Street, Third Floor,
Court Room 7, Wilmington, Delaware 19801. The hearing date specified may be a preliminary
hearing or may be consolidated with the final hearing, as determined by the Court.




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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: JOANN Inc. (5540); Needle Holdings LLC (3814); Jo-Ann Stores, LLC (0629); Creative Tech Solutions
LLC (6734); Creativebug, LLC (3208); WeaveUp, Inc. (5633); JAS Aviation, LLC (9570); joann.com, LLC (1594);
JOANN Ditto Holdings Inc. (9652); Dittopatterns LLC (0452); JOANN Holdings 1, LLC (9030); JOANN Holdings
2, LLC (6408); and Jo-Ann Stores Support Center, Inc. (5027). The Debtors’ mailing address is 5555 Darrow Road,
Hudson, Ohio 44236.
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     PLEASE TAKE FURTHER NOTICE THAT IF NO OBJECTIONS TO THE SEAL
MOTION ARE TIMELY FILED, SERVED, AND RECEIVED IN ACCORDANCE WITH THIS
NOTICE, THE COURT MAY GRANT THE RELIEF REQUESTED IN THE SEAL MOTION
WITHOUT FURTHER NOTICE OR HEARING.

Dated: February 4, 2025                        CHIPMAN BROWN CICERO & COLE, LLP
       Wilmington, Delaware

                                                /s/ William E. Chipman, Jr.
                                               William E. Chipman, Jr. (No. 3818)
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